
113 Cal.App.2d 823 (1952)
ALBERT CARRARA, Petitioner,
v.
THE SUPERIOR COURT OF THE CITY AND COUNTY OF SAN FRANCISCO, Respondent.
Civ. No. 15565. 
California Court of Appeals. First Dist., Div. Two.  
Oct. 24, 1952.
 Benjamin F. Marlowe for Petitioner.
 Bert W. Hirschberg for Respondent.
 DOOLING, J.
 [1] This proceeding presents the question whether the Superior Court in and for the City and County of San Francisco has jurisdiction in habeas corpus over the person of a minor actually present and residing in Alameda County. Under article VI, section 5 of our Constitution superior courts only have jurisdiction to issue "habeas corpus on petition by or on behalf of any person in actual custody, in their respective counties." (Emphasis ours.) (Bartlett v. Superior Court, 108 Cal.App. 755 [292 P. 545]; Zeigler v. Superior Court, 134 Cal.App. 88 [24 P.2d 899]; People v. Dunlop, 102 Cal.App.2d 314 [227 P.2d 281]; People v. Ponce, 103 Cal.App.2d 271 [229 P.2d 77].)
 The peremptory writ of prohibition is ordered to issue as prayed.
 Goodell, Acting P. J., and Jones, J. pro tem., concurred.
